     Case: 1:21-cv-05368 Document #: 14 Filed: 12/07/21 Page 1 of 5 PageID #:60




                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

KEVIN CUNNINGHAM, et al.,                            )
                                                     )
                              Plaintiffs,            )
                                                     )      Case No. 1:21-cv-05368
               v.                                    )
                                                     )
ROUNDY’S ILLINOIS, LLC,                              )
d/b/a MARIANO’S,                                     )
                                                     )
                              Defendant.             )

                         DEFENDANT’S MOTION FOR
             EXTENSION OF TIME TO ANSWER OR OTHERWISE PLEAD

       Defendant, Roundy’s Illinois LLC d/b/a Mariano’s (“Mariano’s” or the “Company”), by

and through its undersigned counsel, and pursuant to FED. R. CIV. P. 6(b), respectfully requests

that the Court grant it an extension of time to file its answer or other responsive pleading to the

Complaint. In support of this Motion, Mariano’s states as follows:

       1.      On October 8, 2021, twenty-three (23) plaintiffs filed their Complaint against

Mariano’s. (Dkt. No. 1). Each plaintiff in this lawsuit is a current or former Mariano’s employee

who alleges that Mariano’s misclassified them as an “exempt” worker and, thus, improperly failed

to pay overtime wages under the Fair Labor Standards Act (“FLSA”) and similar State law and

Municipal ordinances.

       2.      Mariano’s agreed to waive service, and executed a formal Waiver of Service. (Dkt.

No. 9). The Company’s current deadline to answer or otherwise plead to the Complaint is

December 7, 2021. (Id.). In this case, there exists good cause for the Court to extend Mariano’s

response deadline.




                                                1
     Case: 1:21-cv-05368 Document #: 14 Filed: 12/07/21 Page 2 of 5 PageID #:61




       3.        First, this action essentially presents twenty-three individual lawsuits (improperly)

rolled into one. Mariano’s requires additional time to investigate which defenses should be

asserted in response to each of the twenty-three plaintiffs’ separate claims, including which claims

– from which plaintiffs – should be dismissed.

       4.        Second, Mariano’s contends that plaintiffs are improperly joined in this lawsuit,

and the Court should resolve the threshold issue of “misjoinder” under Rule 21 – raised by

Mariano’s pending Motion to Sever (See, Dkt. Nos. 11, 12) – before requiring the parties to

proceed any further.

       5.        Each plaintiff was, until recently, an “opt-in” plaintiff in a conditionally-certified

FLSA action against Mariano’s in this Court, pending before Hon. Elaine E. Bucklo: Haugen v.

Roundy’s Illinois, LLC, 18-CV-7297 (N.D. Ill.). After nearly three years of litigation, Judge

Bucklo ruled that plaintiffs’ claims in Haugen – the very same claims they raise here – were

inappropriate to litigate together in the same action because the plaintiffs are not “similarly

situated,” and individualized questions of law and fact predominate over their respective claims.

Haugen v. Roundy’s Illinois, LLC, 2021 WL 3418848, at *4 (N.D. Ill. Aug. 5, 2021). Accordingly,

Judge Bucklo decertified the Haugen collective action, dismissed all the opt-in plaintiffs, and

instructed them that they could re-file their claims “on an individual basis.” (Id.; see also, Haugen,

Dkt. No. 131).

       6.        Instead of re-filing their claims individually, plaintiffs’ counsel simply re-filed the

same collective action (minus three former Haugen plaintiffs) by joining all their claims together

here as a de facto collective action. This is a blatant attempt to circumvent Judge Bucklo’s adverse

de-certification ruling in Haugen.




                                                   2
     Case: 1:21-cv-05368 Document #: 14 Filed: 12/07/21 Page 3 of 5 PageID #:62




         7.        Mariano’s contends that severance of plaintiffs is warranted under Judge Bucklo’s

earlier Orders, the Court’s inherent authority, Rule 20 (for misjoinder), and under Rule 21.

         8.        It would be inefficient for Mariano’s to respond to the Complaint on a collective

basis, when the Court may order this action split into twenty-three separate lawsuits. Accordingly,

Mariano’s respectfully requests that the Court extend its deadline to answer or otherwise plead to

a date set by the Court after its resolution of the pending Motion to Sever.

         9.        Pursuant to this Court’s Standing Order regarding Motion Practice, the undersigned

contacted opposing counsel on December 6, 2021, to ascertain whether the plaintiffs object to this

requested extension. As of the filing of the instant Motion, Mariano’s has received no response to

this inquiry, and Plaintiffs’ counsel has voiced no objection to (nor concurrence with) the relief

requested in this Motion.

         10.       This is Mariano’s first request for an extension of time. Mariano’s does not make

this request for purposes of undue delay or any improper purpose.

         WHEREFORE, for all the reasons set forth above, Defendant Roundy’s Illinois, LLC d/b/a

Mariano’s respectfully requests that this Court enter an Order:

              A.   Extending Defendant’s deadline to respond to the Complaint until a date set
                   by the Court following adjudication of Defendant’s pending Motion to
                   Sever (Dkt. No. 11);

              B.   Granting to Defendant any other relief that the Court deems just and
                   reasonable.


Dated:     December 7, 2021                         Respectfully submitted,

                                                    ROUNDY’S ILLINOIS, LLC d/b/a
                                                    MARIANO’S, Defendant

                                                    By: /s/ Christopher S. Griesmeyer
                                                          One of Its Attorneys




                                                    3
     Case: 1:21-cv-05368 Document #: 14 Filed: 12/07/21 Page 4 of 5 PageID #:63




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                                         4
     Case: 1:21-cv-05368 Document #: 14 Filed: 12/07/21 Page 5 of 5 PageID #:64




                                 CERTIFICATE OF SERVICE

       I hereby certify that on December 7, 2021, I caused the foregoing to be electronically filed

with the Clerk of the Court via the CM/ECF System which will send notification of such filing to

those registered to receive electronic notices via email transmission at the email addresses provided

by them, including counsel of record for plaintiffs:


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